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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

ISAIAH HUMPHRIES,                                   No. 4:20-CV-00064

            Plaintiff,                              (Judge Brann)

      v.

THE PENNSYLVANIA STATE
UNIVERSITY; JAMES FRANKLIN;
and DAMION BARBER,

           Defendants.

                                     ORDER

     AND NOW, this 2nd day of October 2020, in accordance with the

accompanying Memorandum Opinion, IT IS HEREBY ORDERED that:

     1.    Defendants’ Motions to Dismiss, Docs. 41 and 43 are GRANTED IN

           PART AND DENIED IN PART, as follows:

           a.     GRANTED as to Counts: 1, 3, 5, 6, and 9 (as to the University

                  Defendants).

           b.     DENIED as to Counts: 2 (subject to the Court’s discussion of

                  that claim), 4, 7, 8, 9 (as to Barber), 10, and 11.

     2.    Plaintiff is granted leave to amend Counts 1, 5, 6, and 9 (as to the

           University Defendants). Leave to amend is denied as to Count 3, with

           prejudice.
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3.   Plaintiff may file an amended complaint by October 16, 2020. If no

     amended complaint is filed by that date, the action will be summarily

     dismissed pursuant to Fed. R. Civ. P. 41(b).



                                      BY THE COURT:


                                      s/ Matthew W. Brann
                                      Matthew W. Brann
                                      United States District Judge




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